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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   LAREDO DIVISION

 IBAN TREVINO,                                  §
     Plaintiff,                                 §
                                                §
 vs.                                            §    CIVIL ACTION NO. 5:22-cv-00092
                                                §
 TRANSPORTADORA EGOBA                           §
 SA DE CV AND SERGIO                            §
 ALFREDO LEDESMA GALVEZ,                        §
     Defendants.                                §

                           PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Plaintiff, IBAN TREVINO, complaining of TRANSPORTADORA

EGOBA SA DE CV and SERGIO ALFREDO LEDESMA GALVEZ, Defendants, and for cause of

action shows unto the Court the following:

                                          I. PARTIES

1.      Plaintiff, IBAN TREVINO, is an individual citizen of the State of Texas.

2.      Defendant, TRANSPORTADORA EGOBA SA DE CV, is a Mexican company doing

        business in the State of Texas and licensed by the United States Department of

        Transportation, Federal Motor Carrier Safety Administration (“FMCSA”) to operate

        as a motor carrier in the United States. It may be served with process by serving its

        registered agent for service in the United States, Pedro Alegria, 511 Boise Way, Laredo,

        Texas 78041.

3.      Defendant, SERGIO ALFREDO LEDESMA GALVEZ, is a Mexican citizen who at all

        times material hereto was operating a motor vehicle in Texas, who at all times material

        hereto was operating a commercial motor vehicle on public roadway in Texas.

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        Accordingly, he may be served with process by serving: J. Bruce Bugg, Jr., Chairman,

        Texas Transportation Commission, 125 E. 11th Street, Austin, Texas 78701-2483.

4.      Upon request and payment of $25, together with two (2) copies of the citation and

        Complaint, the Chairman of the Texas Transportation Commission shall forward same to:

        SERGIO ALFREDO LEDESMA GALVEZ, 8919 Calle Canales, Colonia La Sandia,

        Nuevo Laredo, Tamaulipas, Mexico 88295.

                                 II. JURISDICTION AND VENUE

5.      This Court has diversity jurisdiction because the matter in controversy exceeds $75,000.00

        and the case is between citizens of different states. 28 U.S.C. § 1332.

6.      Venue is proper in the Southern District of Texas, Laredo Division, because a substantial

        part of the events and omissions giving rise to the claim occurred in Laredo, Webb

        County, Texas. See 28 U.S.C. § 1391(b)(2).

                                            III. FACTS

7.      Defendant TRANSPORTADORA EGOBA SA DE CV (“TRANSPORTADORA

        EGOBA”) is a motor carrier licensed by the FMCSA.

8.      In exchange for authority to operate 80,000-pound commercial motor vehicles on public

        roadways in the United States, TRANSPORTADORA EGOBA certified in writing and

        under oath to the FMCSA, that:

        A.      it had in place a system for ensuring the overall compliance with the Federal Motor

                Carrier Safety Regulations (“FMCSR”);

        B.      it had a place a driver safety training/orientation program;

        C.      it had in a system for overseeing driver qualification requirements;

        D.      it had in place policies and procedures consistent with FMCSA regulations governing

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                 driving and operational safety of motor vehicles, including drivers’ hours-of-service

                 and vehicle inspection, repair, and maintenance; and

        E.       it had in place a system for complying with the FMCSR governing alcohol and

                 controlled substances testing requirements.

9.      In exchange for authority to operate 80,000-pound commercial motor vehicles on public

        roadways in the United States, TRANSPORTADORA EGOBA also warranted to the

        FMCSA, that its drivers had knowledge of the FMCSR and of the traffic laws of the State of

        Texas.

10.     TRANSPORTADORA EGOBA knew that if it broke these promises it made to the FMCSA

        and if it failed to implement the safety management systems necessary to ensure compliance

        with the FMCSR(including the qualification of drivers) there would naturally and probably

        be preventable crahes resulting in injury and damage.

11.     Despite this knowledge, TRANSPORTADORA EGOBA repeatedly broke its promises to

        the FMCSA and violated the FMCSR.

12.     TRANSPORTADORA EGOBA failed to ensure that its drivers had knowledge of the FMCSR

        and of the traffic laws of the State of Texas.

13.     The FMCSA conducted multiple audits and inspections of TRANSPORTADORA EGOBA

        that reveal numerous violations of the FMCSR by TRANSPORTADORA EGOBA.

14.     In the last two years alone, roadside inspections of TRANSPORTADORA EGOBA’s

        commercial      motor     vehicles   recorded    by    the   FMCSA     have    revealed    that

        TRANSPORTADORA EGOBA’s drivers have been cited hundreds of times for violating

        the FMCSR.

15.     According to the FMCSA, in the two years before TRANSPORTADORA EGOBA caused

        the crash that injured Plaintiff, its drivers had been involved in at least two other crahes in
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        Texas.

16.     According to the FMCSA, in the two years before TRANSPORTADORA EGOBA caused

        the crash that injured Plaintiff, at least one of its drivers was cited for operating a tractor

        trailer in Texas without a Commercial Drivers License.

17.     At all times relevant to this lawsuit, SERGIO ALFREDO LEDESMA GALVEZ

        (“LEDESMA GALVEZ”) was acting within the course and scope of employment for

        TRANSPORTADORA EGOBA.

18.     Upon information and belief, TRANSPORTADORA EGOBA violated the certified promises

        it made to the FMCSA in its application to operate commercial motor vehicles in the United

        States by failing to properly qualify LEDESMA GALVEZ to drive and to train its driver,

        LEDESMA GALVEZ.

19.     Had TRANSPORTADORA EGOBA properly qualified LEDESMA GALVEZ, the crash

        would not have occurred. That is, had TRANSPORTADORA EGOBA not qualified

        LEDESMA GALVEZ to drive its tractor trailer, this crash would not have occurred.

20.     Upon information and belief, TRANSPORTADORA EGOBA violated the certified promises

        it made to the FMCSA in its application to operate commercial motor vehicles in the United

        States by not adopting and enforcing policies and procedures to ensure that its drivers operated

        tractor trailers in a safe manner.

21.     TRANSPORTADORA EGOBA’s vice-principals had actual, subjective awareness that the

        company’s driver safety training program was inadequate, creating an extreme degree of risk,

        considering the probability and magnitude of the potential harm to the motoring public.


22.     Despite TRANSPORTADORA EGOBA’s vice-principals’ actual, subjective knowledge of

        the extreme degree of risk created by its inadequate driver safety training and qualification

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        programs, TRANSPORTADORA EGOBA proceeded with conscious indifference to the

        rights, safety, and welfare of the motoring public by continuing to put unqualified,

        inadequately trained drivers behind the wheel.


23.     TRANSPORTADORA EGOBA hired LEDESMA GALVEZ, who was an unfit, unsafe, and

        untrained driver.

24.     TRANSPORTADORA EGOBA did not adequately train and qualify LEDESMA GALVEZ

        before putting him behind the wheel of a tractor-trailer.


25.     The industry standard for motor carriers is to discourage tractor-trailer drivers from making

        unprotected left turns.


26.     The industry standard for motor carriers is to ensure, through training and monitoring, that

        their drivers know that unprotected left turns are dangerous and should be avoided.


27.     TRANSPORTADORA EGOBA’s vice-principals had actual, subjective awareness that a

        driver making an unprotected left turn on a public roadway creates an extreme degree of risk,

        considering the probability and magnitude of the potential harm to others.


28.     TRANSPORTADORA EGOBA’s actual, subjective knowledge of the extreme degree of

        risk involved with unprotected left turns               came, in part, from crahes that

        TRANSPORTADORA EGOBA drivers have had in the past when attempting unprotected

        left turns.

29.     TRANSPORTADORA EGOBA’s actual, subjective knowledge of the extreme degree

        of risk involved in unprotected left turns came, in part, from its knowledge of other motor

        carriers’ drivers causing crahes when making unprotected left turns.


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30.     Despite TRANSPORTADORA EGOBA’s actual, subjective knowledge of the extreme

        degree of risk associated with unprotected left turns, TRANSPORTADORA EGOBA acted

        with conscious indifference to the rights, safety, and welfare of others by putting drivers

        (including LEDESMA GALVEZ) behind the wheel without ensuring that the drivers

        understood why unprotected left turns were dangerous and understood that unprotected left

        turns should be avoided.

31.     The industry standard for motor carriers is to ensure that their drivers know never to turn left

        in front of oncoming traffic if doing so will require oncoming vehicles to stop or swerve to

        avoid a collision. This industry standard is set out in the model Commercial Driver License

        Manual, each state’s commercial driver license manual, the United States Department of

        Transportation’s Preventable Accident Manual, and numerous other publications.

32.     Because of their length, tractor-trailers take more time than passenger vehicles to clear an

        intersection in a turn.

33.     It is well known in the trucking industry that making a left turn when there is an oncoming

        vehicle that would have to stop or swerve to avoid a collision creates an extreme degree of

        risk to the rights, safety, and welfare of the occupants of the oncoming vehicle.

34.     TRANSPORTADORA EGOBA’s vice-principals had actual, subjective knowledge of the

        extreme degree of risk associated with making a left turn when there is an oncoming vehicle

        that would have to stop or swerve to avoid a collision.

35.     Despite TRANSPORTADORA EGOBA’s actual, subjective knowledge of the extreme

        degree of risk associated with unprotected left turns, TRANSPORTADORA EGOBA acted

        with conscious indifference to the rights, safety, and welfare of others by putting drivers

        (including LEDESMA GALVEZ) behind the wheel without ensuring that the drivers


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        understood the dangers or making a left turn when there is an oncoming vehicle that would

        have to stop or swerve to avoid a collision.

36.     Despite TRANSPORTADORA EGOBA’s actual, subjective knowledge of the extreme

        degree of risk associated with unprotected left turns, TRANSPORTADORA EGOBA acted

        with conscious indifference to the rights, safety, and welfare of others by failing to ensure that

        TRANSPORTADORA EGOBA’s drivers (including LEDESMA GALVEZ) knew to never

        make a left turn when there is an oncoming vehicle that would have to stop or swerve to

        avoid a collision.

37.     The industry standard for motor carriers is to ensure that drivers have the knowledge and

        skills needed to scan the road ahead, see oncoming vehicles and other potential hazards, and

        to avoid turning in front of oncoming vehicles if doing so will require the other vehicle to

        swerve or brake to avoid a collision.

38.     TRANSPORTADORA EGOBA’s vice-principals had actual, subjective knowledge of the

        extreme degree of risk associated with a driver who lacks the knowledge and skills needed to

        scan the road ahead, see oncoming vehicles and other potential hazards, and to avoid turning

        in front of oncoming vehicles if doing so will require the other vehicle to swerve or brake to

        avoid a collision.

39.     Despite TRANSPORTADORA EGOBA’s actual, subjective knowledge of the extreme

        degree of risk associated with drivers who lack the required knowledge and skills,

        TRANSPORTADORA EGOBA acted with conscious indifference to the rights, safety, and

        welfare of others by failing to ensure that TRANSPORTADORA EGOBA’s drivers

        (including LEDESMA GALVEZ) had the knowledge and skills needed to scan the road

        ahead, see oncoming vehicles and other potential hazards, and to avoid turning in front of


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        oncoming vehicles if doing so will require the other vehicle to swerve or brake to avoid a

        collision.

40.     The industry standard for motor carriers for dispatchers to assist drivers with route planning

        so that drivers know where they need to turn and can do so without making unsafe left turns.

41.     The industry standard for motor carriers is to ensure that drivers have skills in route planning,

        and that drivers work with their dispatchers to plan routes and know where they need to turn.

42.     TRANSPORTADORA EGOBA violated industry standards and was negligent in failing to

        ensure that drivers (including LEDESMA GALVEZ) had the necessary route planning skills.

43.     TRANSPORTADORA EGOBA violated industry standards and was negligent in failing to

        ensure that its dispatchers went over the route plan with its drivers, including LEDESMA

        GALVEZ.

44.     As a result of TRANSPORTADORA EGOBA’s failure to train its drivers and implement

        adequate policies and procedures, TRANSPORTADORA EGOBA and its drivers were

        convicted of numerous violations of the FMCSR.

45.     On or about July 8, 2022, LEDESMA GALVEZ was operating a tractor trailer for

        TRANSPORTADORA EGOBA in Laredo, Webb County, Texas.

46.     Due to TRANSPORTADORA EGOBA’s inadequate training and qualification of

        LEDESMA GALVEZ, combined with TRANSPORTADORA EGOBA’s dispatcher’s

        failure to plan the route, LEDESMA GALVEZ chose to make an unprotected left turn in

        front of oncoming traffic.

47.     LEDESMA GALVEZ chose to make an unprotected left turn.

48.     Due to TRANSPORTADORA EGOBA’s inadequate training and qualification, LEDESMA

        GALVEZ did not know that it was dangerous to make an unprotected left turn in a tractor-

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        trailer.

49.     Due to TRANSPORTADORA EGOBA’s inadequate training and qualification, LEDESMA

        GALVEZ did not fully appreciate the danger of making a left turn when there is an oncoming

        vehicle that would have to stop or swerve to avoid a collision.

50.     Due to TRANSPORTADORA EGOBA’s inadequate training and qualification, LEDESMA

        GALVEZ did not know that he should never make a left turn when there is an oncoming

        vehicle that would have to stop or swerve to avoid a collision.

51.     Due to TRANSPORTADORA EGOBA’s inadequate training and qualification, LEDESMA

        GALVEZ failed to scan the road ahead, see oncoming vehicles and other potential hazards,

        and to avoid turning in front of oncoming vehicles if doing so will require the other vehicle

        to swerve or brake to avoid a collision

52.     Plaintiff, IBAN TREVINO, was approaching from the opposite direction on the roadway.

53.     IBAN TREVINO was visible to LEDESMA GALVEZ, yet LEDESMA GALVEZ turned in

        front of IBAN TREVINO.

54.     IBAN TREVINO had the right of way.

55.     LEDESMA GALVEZ failed to yield the right of way to oncoming traffic.

56.     The tractor trailer that LEDESMA GALVEZ was operating for TRANSPORTADORA

        EGOBA collided with Plaintiff, IBAN TREVINO.

57.     IBAN TREVINO did not have sufficient time to perceive the tractor-trailer turning in front

        of him, react to LEDESMA GALVEZ’s action, and avoid the crash.

58.     Pleading in the alternative, if LEDESMA GALVEZ did know that it was dangerous to make

        a left turn when there is an oncoming vehicle that would have to stop or swerve to avoid a

        collision, then he acted with conscious indifference to the rights, safety, and welfare of IBAN

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        TREVINO when he made the unprotected left turn on July 8, 2022.

59.     Pleading in the alternative, if LEDESMA GALVEZ knew dangerous to make an unprotected left turn

        on a public roadway, then he acted with conscious indifference to the rights, safety, and welfare

        of IBAN TREVINO when he made the unprotected left turn on July 8, 2022.

60.     The crash caused Plaintiff severe and permanent bodily injuries. These injuries resulted in

        the amputation of one leg, multiple broken bones and permanent bodily injuries.

        61.    The manner in which the collision occurred (an unsafe left turn that failed to yield

        right-of- way) is consistent with fatigue, violations of the hours-of-service regulations,

        and distracted driving.

62.     Upon information and belief, LEDESMA GALVEZ was distracted by an electronic device,

        fatigued, and/or operating the vehicle in violation of the hours-of-service regulations set out

        in Part 395 of the FMCSR.

63.     Had TRANSPORTADORA EGOBA trained LEDESMA GALVEZ on the dangers of

        driving while fatigued, the hours-of- service rules, and the hazards of distracted driving, the

        crash would not have occurred.

64.     Had TRANSPORTADORA EGOBA implemented policies and procedures to monitor and

        audit drivers’ hours-of- service, it would have caught LEDESMA GALVEZ’s unsafe driving

        practices. TRANSPORTADORA EGOBA then could have taken remedial action that would

        have prevented this crash.

65.     Defendants are jointly responsible for the safe operation of the tractor-trailer at issue.

                                     IV. CAUSES OF ACTION

                    NEGLIGENCE OF DEFENDANT LEDESMA GALVEZ

66.     Plaintiff hereby incorporates paragraphs 7 - 65 as if fully set forth herein.

67.     LEDESMA GALVEZ had a duty to exercise the degree of care that a reasonably careful
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        person would use to avoid harm to others under circumstances like those described herein.

68.     Plaintiff’s damages were proximately caused by LEDESMA GALVEZ’s breach and

        negligent disregard of said duty. The breach and negligent disregard of the duty consisted

        of, but is not limited to, the following acts and omissions:

        A.      Operating a vehicle in careless manner and/or in violation of the Texas
                Transportation Code;

        B.      Failing to yield the right of way to on-coming traffic;

        C.      Failing to keep a proper lookout for Plaintiffs’ safety that would have been maintained
                by a person of ordinary prudence under the same or similar circumstances;



        D.      Failing to maintain a clear and reasonable distance between
                TRANSPORTADORA EGOBA’s tractor trailer and other traffic on the
                roadway, including Plaintiffs’ motor vehicle;

        E.      Making an improper and unsafe left turn;

        F.      Failing to control the operation of his vehicle;

        G.      Failing to avoid the crash in question;

        H.      Failing to operate his vehicle in a safe and prudent manner;

        I.      Failing to keep a proper lookout for other vehicles using the roadway;

        J.      Driver inattention;

        K.      Violating the terms and provisions of Texas Transportation Code, the Texas
                Driver’s Handbook, and the Texas Commercial Motor Vehicle Drivers’
                Handbook;

        L.      Driving while fatigued in violation of FMCSR 392.3;

        M.      Driving in violation of the hours-of-service regulations set out in part 395 of the
                FMCSR;

        N.      Driving while distracted;

        O.      Failing to properly plan his route;
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        P.      Failing to pay proper attention and missing his turn;

        Q.      Other acts of negligence and/or negligence per se; and

        R.      Any other acts of negligence discovered and to be shown at the time of trial.

69.     Each of the foregoing acts and omissions, whether taken singularly or in combination,

        constituted a breach of LEDESMA GALVEZ’s duty and was a proximate cause of the

        collision made the basis of this cause of action and the injuries and damages suffered by

        Plaintiff.

70.     The damages that Plaintiff was caused are the types of harm that the above statutes are

        intended to prevent. Plaintiff is a member of the class of people these statutes were enacted

        to protect. Such violations of statutes, as identified herein amount to negligence per se and

        are a proximate cause of the occurrence in question.


71.     Defendant LEDESMA GALVEZ knew that his conduct (including driving while fatigued,

        violating the hours-of-service regulations, and/or distracted driving) would naturally and

        probably result in injury or damage. Nevertheless, LEDESMA GALVEZ continued the

        conduct with malice or in reckless disregard of the consequences, from which malice may

        be inferred. Thus, LEDESMA GALVEZ is liable for punitive damages.

                NEGLIGENCE OF DEFENDANT TRANSPORTADORA EGOBA

                                           (Vicarious Liability)

72.     Plaintiff hereby incorporates paragraphs 7 - 65 as if fully set forth herein.

73.     At all times material hereto, LEDESMA GALVEZ was in the course and scope of his

        employment for TRANSPORTADORA EGOBA.

74.     Because LEDESMA GALVEZ was acting in the course and scope of employment with

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        TRANSPORTADORA EGOBA when the crash occurred, TRANSPORTADORA

        EGOBA is vicariously liable to Plaintiff under the doctrine of respondeat superior and/or

        the statutory employment doctrine.

                                           (Direct Liability)

75.     Plaintiff hereby incorporates paragraphs 7- 65 as if fully set forth herein.

76.     TRANSPORTADORA EGOBA was negligent in hiring and/or qualifying LEDESMA

        GALVEZ to operate its tractor trailer. This negligence was a proximate cause of the crash and

        Plaintiff’s damages.

77.     TRANSPORTADORA EGOBA was negligent in failing to monitor, train, educate, direct,

        set policy, or give guidance to its drivers, including LEDESMA GALVEZ, regarding:


        A.      The safe operation of commercial motor vehicles;

        B.      Distracted driving;

        C.      Fatigue (including the dangers of fatigue, recognizing fatigue, and avoiding
                fatigue);

        D.      The hours-of-service rules set out in Part 395 of the FMCSR;

        E.      The dangers of unprotected left turns;

        F.      That tractor-trailer drivers should avoid unprotected left turns;

        G.      Seeing and hazard perception;

        H.      Never turning in front of an oncoming vehicle if the oncoming vehicle would have
                to brake or swerve to avoid a collision;

        I.      Route planning; and

        J.      The necessity of going over the route plan with the dispatcher.

78.     TRANSPORTADORA EGOBA undertook to provide training to its drivers about the

        FMCSR and the traffic laws of the State of Texas. TRANSPORTADORA EGOBA was
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        negligent in its undertaking and it neglected to provide its drivers (including LEDESMA

        GALVEZ) with instruction about avoiding unprotected left turns. This negligence was a

        proximate cause of Plaintiff’s injuries and damages.

79.     TRANSPORTADORA EGOBA certified to the FMCSA in writing and under oath, that it

        had a system for qualifying drivers. TRANSPORTADORA EGOBA violated this promise

        when it failed to properly qualify and/or hire LEDESMA GALVEZ. This negligence was

        a proximate cause of Plaintiff’s injuries and damages.

80.     TRANSPORTADORA EGOBA certified to the FMCSA in writing and under oath, that

        it had a driver training program when it applied to operate commercial motor vehicles in

        the United States. TRANSPORTADORA EGOBA violated this promise when it failed to

        train LEDESMA GALVEZ. This negligence was a proximate cause of Plaintiff’s injuries

        and damages.

81.     The FMCSA has provided guidance on what actions motor carriers must take to assure safe

        operations and compliance with the FMCSR. This guidance includes the CSA Safety

        Management Cycle, a document made available to TRANSPORTADORA EGOBA and

        other motor carriers licensed by the FMCSA. The CSA Safety Management Cycle

        discusses the necessity for policies, procedures, training, communication, monitoring, and

        meaningful      action    by       motor   carriers    like   TRANSPORTADORA     EGOBA.

        TRANSPORTADORA EGOBA negligently failed to implement the FMCSA’s guidance, as

        evidenced by its multiple violations and this crash.


82.     The FMCSR also require training. Section 390.3(e)(2) requires, “Every driver and

        employee involved in motor carrier operations shall be instructed regarding, and shall

        comply with, all applicable regulations contained in this subchapter.” FMCSR 392.1(a)

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        requires, “Every motor carrier, its officers, agents, representatives, and employees

        responsible for the management, maintenance, operation, or driving of commercial motor

        vehicles, or the hiring, supervising, training, assigning, or dispatching of drivers, shall be

        instructed in and comply with the rules in this part.” TRANSPORTADORA EGOBA was

        negligent and negligent per se in failing to train its drivers, including LEDESMA

        GALVEZ, in violation of FMCSR 390.3(e)(2) and 392.1(a). Upon information and belief,

        TRANSPORTADORA EGOBA was negligent in:

        A.      Failing to establish and enforce policies and procedures regarding u n s afe
                driving and the hours-of-service regulations;

        B.      Failing to audit drivers’ logs, supporting documents, and hours-of-service;

        C.      Permitting violations of the FMCSR, including but not limited to the hours-
                of-service regulations set out in Part 395;

        D.      Aiding and abetting violations of the hours-of-service regulations set out in Part
                395 of the FMCSR;

        E.      Failing to establish and enforce policies and procedures necessary to ensure driving
                safety, including policies p prohibiting unprotected u-turns and policies prohibiting
                turning in front of an oncoming vehicle doing so would require the oncoming vehicle
                to brake or swerve to avoid a collision, and;

        F.      Failing to take action to remedy the problems with its safety management systems
                (including training, policies, and procedures) after receiving multiple alerts from
                the FMCSA SMS system, and communications from the FMCSA regarding the
                safety issues at the company.

83.     TRANSPORTADORA EGOBA was also negligent in its hiring and/or qualification of

        LEDESMA GALVEZ to operate a commercial motor vehicle in the United States.

84.     TRANSPORTADORA EGOBA had a duty dictated by the FMCSR to hire only qualified

        drivers to operate its tractor trailers.

85.     TRANSPORTADORA EGOBA breached its duty to hire only qualified drivers to operate


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        its tractor trailers. In particular, LEDESMA GALVEZ’s lack of experience, training, and

        education revealed him to be a dangerous driver for the purposes of operating commercial

        motor vehicles.

86.     TRANSPORTADORA EGOBA’s negligent qualification and/or hiring of LEDESMA GALVEZ

        to operate a commercial motor vehicle was a proximate cause of injuries to Plaintiff.

87.     Each of the acts and omissions set out in the preceding paragraphs were direct and

        proximate causes of the collision and Plaintiff’s damages.

                                           (Gross Negligence)

88.     Plaintiff hereby incorporates paragraphs 7 – 65 as if fully set forth herein.

89.     Vice-principals and managers of TRANSPORTADORA EGOBA knew that its acts and

        omissions would naturally and probably result in extreme harm, including injury and

        damages to others. Nevertheless, TRANSPORTADORA EGOBA continued the conduct

        with malice or in reckless disregard of the consequences, from which recklessness and/or

        malice may be inferred. Thus, TRANSPORTADORA EGOBA is liable for punitive

        damages.

                                             V. DAMAGES

90.     As a direct and proximate result of the occurrence made the basis of this lawsuit, Plaintiff

        was caused bodily injuries and incurred the following damages:

        A.      Past medical expenses;

        B.      Future medical expenses;

        C.      Physical pain in the past;

        D.      Physical pain that, in all reasonable probability, he will experience in the future;

        E.      Physical impairment in the past;


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        F.      Physical impairment that, in all reasonable probability, will be endured in the
                future;

        G.      Disfigurement in the past;

        H.      Disfigurement that, in all reasonable probability, he will experience in the future;

        I.      Mental anguish in the past;

        J.      Mental anguish that, in all reasonable probability, he will experience in the future;

        K.      Loss of earning capacity in the past;

        L.      Loss of earning capacity that, in all reasonable probability, will be incurred in the
                future; and

        M.      Punitive damages.

                                             VI. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that upon a final

hearing of this action, judgment will be entered for the Plaintiff and against Defendants, jointly and

severally, for damages in an amount exceeding the jurisdictional minimum of the Court, together

with punitive damages, pre-judgment interest (from the date of injury through the date of

judgment) at the maximum rate allowed by law, post-judgment interest at the legal rate, costs of

court, and such other relief to which he may find himself entitled at law or in equity.




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                                           Respectfully submitted,

                                           /s/ Michael R. Cowen
                                           Michael R. Cowen
                                           Bar No. 00795306
                                           Sonia M. Rodriguez
                                           Bar No. 24008466
                                           COWEN | RODRIGUEZ | PEACOCK, P.C.
                                           6243 IH-10 West, Suite 801
                                           San Antonio, Texas 78201
                                           Telephone: (210) 941-1301
                                           Facsimile: (210) 880-9461
                                           E-Mail for Service:
                                           efilings@cowenlaw.com

                                           COUNSEL FOR PLAINTIFF, IBAN
                                           TREVINO

  PLAINTIFF DEMANDS TRIAL BY JURY




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